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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA

      FNU BRUNHILDA,                               )
                                                   )
                     Plaintiff,                    )
                                                   ) Case No. 0:21-cv-01299-PJS-DTS
             vs.                                   )
                                                   )
      PURDUE UNIVERSITY GLOBAL and                 )
      INDIANA COMMISSION OF HIGHER                 )
      EDUCATION,                                   )
                                                   )
                     Defendants.                   )


              DEFENDANT’S MOTION TO CERTIFY DISPOSITIVE ISSUE FOR
          INTERLOCUTORY APPEAL AND STAY PROCEEDING PENDING APPEAL

            Defendant Purdue University Global, Inc. hereby respectfully submits its Brief in Support

     of its Motion to Certify Dispositive Issue for Interlocutory Appeal and Stay Proceedings Pending

     Appeal. Purdue Global seeks certification of the Court’s February 2, 2022 Order denying its

     motion to dismiss based on personal jurisdiction, including the application of Knowlton v. Allied

     Van Lines, Inc., 900 F.2d 1196 (8th Cir. 1990), to the personal jurisdiction issue. [Doc. 84].

I.      Introduction.

            In its motion to dismiss, Purdue Global demonstrated that it is not at home in Minnesota

     and did not engage in sufficient minimum contacts with Minnesota to confer personal jurisdiction.

     [Doc. 41]. Addressing Eighth Circuit precedent related to entities that register to do business in

     Minnesota, Knowlton v. Allied Van Lines, Inc., 900 F.2d 1196 (8th Cir. 1990), Purdue Global

     further argued that Knowlton is no longer good law in light of Supreme Court due process

     precedent. [See Doc. 81 at 2 (citing Goodyear Dunlop Tires Ops., S.A. v. Brown, 564 U.S. 915

     (2011), and Daimler AG v. Bauman, 134 S.Ct. 746 (2014))].
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             Although the Court found personal jurisdiction based on Knowlton, there is a strong

      difference of opinion as to whether Knowlton remains good law. Further, the personal jurisdiction

      issue is a controlling question of law, and immediate appeal of this issue may materially advance

      the termination of this case. See In re Mun. Stormwater Pond, 429 F. Supp. 3d 647, 654 (D. Minn.

      2019) (applying Knowlton and finding personal jurisdiction existed but noting that issue was

      appropriate for interlocutory appeal) (“The issue of consenting to personal jurisdiction by

      registering to do business, but not actually doing business, in a state seems ripe for the type of

      appeal envisioned by 28 U.S.C. § 1292(b).”). Accordingly, Purdue Global respectfully moves this

      Court to certify the Order for interlocutory appeal pursuant to 28 U.S.C. § 1292(b) and stay

      discovery and other proceedings in this case pending disposition of the appeal.

II.      Discussion.

         The necessary elements to certify this issue for interlocutory appeal are satisfied. Interlocutory

      appeals should be granted where such an appeal (1) “involves a controlling question of law,” (2)

      “as to which there is a substantial ground for difference of opinion,” and (3) “that an immediate

      appeal from the order may materially advance the ultimate termination of the litigation.”

      GreenState Credit Union v. Hy-Vee, Inc., 500 F. Supp. 3d 799, 807 (D. Minn. 2020) (citing 28

      U.S.C. § 1292(b); White v. Nix, 43 F.3d 374, 376 (8th Cir. 1994)). The Court has previously found

      all such elements to be met on this same issue. See Hy-Vee, Inc., 500 F. Supp. 3d at 807. See also

      In re Mun. Stormwater Pond, 429 F. Supp. 3d at 654 (D. Minn. 2019).

             A. Whether Knowlton Remains Good Law Is A Controlling Question Of Law.

             Whether personal jurisdiction exists over Purdue Global is a controlling question of law.

      “[P]ersonal jurisdiction issues are non-discretionary and thus present controlling questions of law.”

      Murphy v. Lab. Source, LLC, No. 19-CV-1929 (ECW), 2021 WL 527932, at *6 (D. Minn. Feb.

      12, 2021) (citing ASI, Inc. v. Aquawood, LLC, et al., No. CV 19-763 (JRT/HB), 2021 WL 396818,


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at *2 (D. Minn. Feb. 4, 2021) (internal citation omitted)). The Court cannot address the merits of

Plaintiff’s claims without personal jurisdiction over Purdue Global. Purdue Global’s motion to

dismiss for lack of jurisdiction was denied on the basis of Knowlton. [Doc. 84 at 2]. Thus, the

issue of whether the Court properly has personal jurisdiction over Purdue Global based on

Knowlton is a controlling question of law. See generally Hy-Vee, Inc., 500 F. Supp. 3d at 807;

Murphy 2021 WL 527932, at *6.

       B. There Is Substantial Ground For Difference Of Opinion.

       There is a substantial ground for difference of opinion as to whether Knowlton remains

good law in light of the U.S. Supreme Court’s decisions in Daimler and Goodyear. In considering

this element, the court looks to whether there is “a difference of opinion between the district courts

of the controlling circuit.” Murphy, 2021 WL 527932, at *6 (citing In re Polaris Mktg., Sales

Practices, & Prod. Liab. Litig., No. 18-CV-0939 (WMW/DTS), 2020 WL 3530624, at *5 (D.

Minn. June 30, 2020)).

       District courts in the Eighth Circuit disagree whether Knowlton remains good law. Certain

courts have concluded that Knowlton remains controlling despite the Supreme Court due process

precedent. See Murphy, 2021 WL 527932, at *7 (collecting cases); Am. Dairy Queen Corp. v.

W.B. Mason Co., Inc., No. 18-cv-693 (SRN/ECW), 2019 WL 135699 at *6 (D. Minn. Jan. 8, 2019)

(“The Court finds that, although persuasive arguments can be made that the holding of Knowlton is

not reconcilable with the narrowing of the boundaries of due process that govern an analysis of

minimum contacts and general personal jurisdiction under Goodyear and Daimler, this Court

nonetheless remains bound by Knowlton which is controlling in this case).

       Other courts within this district have gone one step further to expressly agree that the

Knowlton decision is inconsistent with Daimler and Goodyear, but they nonetheless concluded

that they were bound to follow it. See, e.g., Hy-Vee, Inc., 2020 WL 6586230, at *5 (“Although


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defendant makes a compelling argument that Knowlton is inconsistent with the Supreme Court's

recent general jurisdiction decisions, the court agrees with other courts in this district that it is still

bound by Knowlton.”); In re Mun. Stormwater Pond, 429 F. Supp. 3d 647, 654 (D. Minn. 2019)

(“While the Court is bound by Knowlton, the Court recognizes Knowlton may not comport with

Goodyear and Daimler.”).

        Further, other courts within the Circuit have decided that Knowlton’s holding cannot

survive current Supreme Court precedent. See, e.g., Alvarracin v. Volume Servs., Inc., No. 16-

06115-CV-SJ-SWH, 2017 WL 1842701, at *2 (W.D. Mo. May 4, 2017) (agreeing “with the

findings of those courts who have determined that Knowlton's holding cannot survive in light of

the holding in Daimler”); Beard v. SmithKline Beecham Corp., No. 4:15-CV-1833-RLW, 2016

WL 1746113, at *2 (E.D. Mo. May 3, 2016) (agreeing “with more recent judicial precedent from

the United States Supreme Court and this district that have determined that more substantial

contacts” than appointing a registered agent in the forum state “are required to haul a litigant into

the court’s forum”).

        Moreover, most Circuits have expressly rejected the basis for personal jurisdiction found

in Knowlton. See Waite v. All Acquisition Corp., 901 F.3d 1307, 1318 (11th Cir. 2018) (“After

Daimler, there is little room to argue that compliance with a state’s bureaucratic measures render

a corporation at home in a state.”) (internal quotations omitted); Brown v. Lockheed Martin Corp.,

814 F.3d 619, 640-41 (2nd Cir. 2016) (to confer consent to general jurisdiction based on “mere

appointment of an agent for service of process” would create “precisely the result that the Court

so roundly rejected in Daimler”); King v. Am. Fam. Mut. Ins. Co., 632 F.3d 570, 573 (9th Cir.

2011); Cossaboon v. Me. Med. Ctr., 600 F.3d 25, 37 (1st Cir. 2010); Wenche Siemer v. Learjet

Acquisition Corp., 966 F.2d 179, 183 (5th Cir. 1992) (explaining that “[a] registered agent, from




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any conceivable perspective, hardly amounts to the general business presence of a corporation so

as to sustain an assertion of general jurisdiction”) (internal citation omitted); Wilson v. Humphreys

(Cayman) Ltd., 916 F.2d 1239 (7th Cir. 1990); Ratliff v. Cooper Labs., Inc., 444 F.2d 745 (4th Cir.

1971).

         In light of the substantial difference of opinion between district courts within the Eighth

Circuit, the second 1292(b) element is satisfied.

         C. Certification Will Materially Advance The Ultimate Termination Of The
            Litigation.

         The reversal of the Court’s Order on Purdue Global’s personal jurisdiction defense would

materially advance termination of this case. Indeed, it would result in dismissal of all claims

against the sole remaining defendant. As such, certification of the issue in this case will not result

in a piecemeal appeals process and would expedite this matter –avoiding further litigation and a

potential trial altogether. See White, 43 F.3d at 376 (“It [has] long been the policy of the courts to

discourage piece-meal appeals because most often such appeals result in additional burdens on

both the court and the litigants.”).

         The present case is distinct from Murphy. Murphy, 2021 WL 527932, at *5. Although the

Court in Murphy found the first two elements of 1292(b) to be met, the Court noted that litigation

would proceed irrespective of the outcome on interlocutory appeal. Id. at *7-8. Specifically, in

Murphy, plaintiff alleged wage claims on behalf of a putative class, including plaintiffs who

worked in Minnesota and nationwide, and the defendant-employers moved for only partial

dismissal as to the plaintiffs who did not work in Minnesota. Id. at *1. In arguing the application

of Knowlton to its personal jurisdiction defense, and seeking interlocutory appeal, the Court noted

that the litigation would nonetheless proceed as to the Minnesota class. Id. at *8. The Court

concluded that defendants could not use the appellate process to streamline the discovery process



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       by narrowing the size of the collective class. See also ASI, Inc., 2021 WL 396818, at *3 (third

       element of 1292(b) not met where certain claims would still proceed against other defendants).

               Unlike the Murphy case, interlocutory review of Purdue Global’s personal jurisdiction

       issue will materially advance the termination of this litigation, as the lack of jurisdiction will result

       in dismissal of all claims against Purdue Global, the only remaining defendant. The Court’s Order

       granted dismissal as to Defendant Indiana Commission for Higher Education, and Purdue Global

       is the only remaining defendant. Unlike the decision in Murphy, dismissal based on lack of

       jurisdiction over Purdue Global would result in dismissal of the entire remaining action.

       Accordingly, the interlocutory review of the personal jurisdiction issue will materially advance

       termination of this case, and the third 1292(b) element is satisfied.

III.       Conclusion.

               For the reasons set forth herein, Defendant Purdue Global respectfully requests

       certification of its personal jurisdiction defense for interlocutory appeal pursuant to 28 U.S.C. §

       1292(b).

       Dated: February 28, 2022                                Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of February, 2022, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

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